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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 WARREN BERES, et aI.,                    )
                                          )
          Plaintiffs,                     )          Nos. 03-785L, 04-1 456L, 04-I457L,
                                          )          0 4- L 458L, O 4- r 4õgL, 0 4- L 463L, O 4-
 v                                        )          I 465L, O 4- r 466L, 0 4- I 467 L, O 4-
                                          )          1468L, 04-I469L, 04-L47 tL, 04-
 UNITED STATES,                           )          L472L, 04-147 3L, 04-147 4L
                                          )
          Defendant.                      )          The Honorable Marian Blank Horn
                                          )
                                          )
                                          )



                    DECLARATION OF CLIFFORD SCHROEDER



     I, Clifford Schroeder, make the following declaration:

     1. I am a United States cítizen, a resident of the State of IV'ashington, over the

age of twenty-one, have personal knowledge of the facts stated herein and am

competent to testifr to the matters stated in this Declaration. I and my wife

Kathyrn are Plaintiffs in this case.

     2. I am the owner, president and general manager of a road construction
business, a family business I have been engaged in for over 50 years. I am familiar

with measuring and working in and around street, highway and railroad right of

ways.

     3. I and my wife purchased our property at issue in this case in t974.We
purchased the property from Mr. and Mrs. William Williams who appeared to have

made no use of the property

Declaration of Clifford Schroeder 1

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   4. At the time of our purchase, within the railroad right of way on the west side
of the tracks, there was a roadway that serviced several lots to the north, our lot

and one lot to the south. Our property including the adjacent railroad right of way

relatively wet and had sparse vegetation.

   5. Beginningin 7974, we cleared the property including the railroad right of
way of all vegetation and brought in rock to create a solid foundation for our home

and yard. A neighbor to the north claimed that he owned the roadway on the

railroad right of way as it crossed his property and that he didn't want me to bring

rock down that roadway. So,we put in a driveway that goes from our property

directly east to East Lake Sammamish Parkway.

   6. Along the eastern side of the railroad right of way, there rnras a substantial
gully approximately twenty feet deep that extended along the right of way for

several houses to the north and one house to the south ofour lot. In the late 1970s,

one night we discovered a car that had been driven into the gully and was lying

upside down with a women inside screaming. We rescued the woman from her car

and we realized that the gully along the right of way was a }r,azard. Therafter, still

in the late 1970s, we had the area filled in so that it is level with the railbed.

Shortly thereafter, we installed a sprinkler system on both sides of the railroad

track within the railroad right of way. We planted Sequoia, Pine, Fir, Blue Spruce

and several apple trees. We also planted Rhodedendrum plants in the railroad right

of way and landscaped with a dry creek bed, a wandering path of stones. Attached

here to as Exhibit A is a true and correct copy of a photograph of the railroad right



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of way showing a Rhodendrum plant that we planted and an apple tree in the

background. Also shown in Exhibit A are the railroad tracks. This picture was likely

taken in the 1980s or early to mid 1990s.

   7. Attached hereto as Exhibit B is a true and correct copy of an aerial
photograph depicting our property. This photograph was taken prior to 1985

because the boat shown on the right side of the dock was sold in 1985 and replaced

with a different boat that is not in the picture. Toward the back of the picture, East

Lake Sammamish Parkway can be seen. On the right side of the picture the

driveway that connects our home to East Lake Sammamish Parkway is visible. The

trees that are between our house and the Parkway are all trees that we planted on

both sides of the railroad right of way in the late 1970s because we cleared the

entire site, including the railroad right of way in the early to mid-1970s.

   8. The photograph also shows an area of the railroad right of way which we
paved with asphalt in the late 1970s and that asphalt as remained and been used

for driving and parking to this day. The photograph also shows on the left hand side

a hedge and a garden just to the right of that hedge. We have used that area for a

vegetable and flower garden with raised beds and fences every year for over the last

40 years. Just west of the garden beds is our septic drainfreld with lawn that we

have mowed regularly every year from 1974 to the present. With the exception of

that garden area and the area covered with asphalt, the remainder of the railroad

right of way has been maintained by my wife and me to create a park-like setting.




Declaration of Clifford Schroeder 3

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In fact, when the County's trail planners referred to our property, they would refer

to it as the "arboretum section" of the railroad right of way.

   9. We maintained the trees and bushes in the railroad right of way by watering,
mulching, trimming and weeding the area every year since they were first planted

in the 1970s. We remove dead and fallen limbs. We pick and use fruit off the apple

trees

   10. Attached hereto as Exhibit C is a true and correct copy of an aerial

photograph taken in the late 1990s or early 2000s. It shows how the trees have

grown and more clearly depicts the area on the north side where we have had a

vegetable and fLower garden.

   11. Basically, we have used and possessed the entire railroad right of way from

mid to late 1970s to the present with placement of asphalt for the driveway and all

other areas of the right of way used for gardening or landscaping, with constant

maintenance and visible sprinkler structures. Our activities and permanent

improvements should make clear to any passerby that someone is treating the

property as their own and that someone is me and my wife.

   12. Prior to 1998, no one has ever approached me to suggest that they are really

the owner of the railroad right of way adjoining our property. Only King County has

made that claim and only after 1998.

   13. I also understand that the recorded easement for the railroad right of way is

west of where the railroad line was actually built. To my knowledge there has never

been a railroad operating west of where the railroad operated since we purchased



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our property in 1974. The legal cLescliption of that easement must be a mistake and

abandoned by the railroad because the railroad was not built in that location.

   14. For as long as \/e lived on the property, the railroad operated a train on a



into the area that we were using for any purpose whatsoever. We were able to use

the right of way as described above in a manner which did not interfere with the

railroad's use of the right of way.

   15. Attached hereto as Exhibit D is a copy of a description of our property and

aleas clepicted by our various types of uses which was prepared by ESM Engineers.

I met with Eric LaBrie and his assistant at our property on January 4, 20L8 and I

explained to him what our historical use of the area has been. Exhibit D accurately

depicts the location of where were have used the right of way for the last over 40

yeaïs.

    I declare under penalty of perjury under the laws of the State of Washington that

the foregoing is true and correct and was executed by me this 31st day of January,
                    o
2018, at                  Washington



                                        Clifford Schroeder




Declaration of Clifford Schroeder 5


                                                                                     Ex. 9-5
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                                                                  Ex. 9A
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                                                                     Ex. 9B
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                                                                   Ex. 9C
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        A) Filled t20' ditch, planted fruit and Evergreen
          trees and installed irrigation: 1977-1982.
        B) Vegetable garden installed and maintained.
        C) Paved parking spaces - roof added in 1995.
        D) Driveway prior to 1975 - Access property from
          the parkway; landscaped old driveway area.




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